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                                            UNITED STATES DEPARTMENT OF JUSTICE
                                            OFFICE OF THE UNITED STATES TRUSTEE
                                               CENTRAL DISTRICT OF CALIFORNIA
 In Re:                                                                               CHAPTER 11 (BUSINESS)

     ICPW Liquidation Corporation,                                                    Case Number:             1:17-bk-12408-MB
     a California corporation                                                         Operating Report Number:                     6
                                                                Debtor(s),            For the Month Ending:            February 2018

                                              I. CASH RECEIPTS AND DISBURSEMENTS
                                                     A. (GENERAL ACCOUNT*)

 1. TOTAL RECEIPTS PER ALL PRIOR GENERAL ACCOUNT REPORTS                                                                                      5,758,668.89

 2. LESS: TOTAL DISBURSEMENTS PER ALL PRIOR GENERAL                                                                                           5,711,185.64
 ACCOUNT REPORTS

3. BEGINNING BALANCE:                                                                                                                            150,000.00

4. RECEIPTS DURING CURRENT PERIOD:
   Accounts Receivable - Post-filing
   Accounts Receivable - Pre-filing
   General Sales
   Other (Specify)       Option Exercise                                                                     38,000.00
   **Other (Specify)     BBI Receipts                                                                       209,438.29

     TOTAL RECEIPTS THIS PERIOD:                                                                                                                247,438.29

5. BALANCE:                                                                                                                                     397,438.29

6. LESS: TOTAL DISBURSEMENTS DURING CURRENT PERIOD
   Transfers to Other DIP Accounts (from page 2) (243,749.69)
   Disbursements (from page 2)                     (3,456.60)

     TOTAL DISBURSEMENTS THIS PERIOD:***                                                                                                       (247,206.29)

7. ENDING BALANCE:                                                                                                                              150,232.00

8. General Account Number(s):                                                                     567

     Depository Name & Location:                                                Capital One



* All receipts must be deposited into the general account.
** Include receipts from the sale of any real or personal property out of the ordinary course of business; attach an exhibit specifying what was sold,
    to whom, terms, and date of Court Order or Report of Sale.
***This amount should be the same as the total from page 2.


    Note: BBI Receipts represents the amounts receivied into ICPW bank accounts post-close, payments remitted to BBI

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                                 TOTAL DISBURSEMENTS FROM GENERAL ACCOUNT FOR CURRENT PERIOD

     Date                Check       Payee or DIP                                                         *Amount                **Amount
 inni/dd/yyyy           Number         account                        Purpose                             Transfered             Disbursed       Amount
       2/1/2018         Xfer     DIP Account              Maintain Balance                                        (0.15)                                (0.15)
       2/2/2018         Xfer     DIP Account              Maintain Balance                                  (18,707.70)                            (18,707.70)
       2/5/2018         Xfer     DIP Account              Maintain Balance                                   (8,718. 18)                            (8,718.18)
       2/6/2018         Xfer     DIP Account              Maintain Balance                                   (4.634,76)                             (4,634.76)
       2/7/2018         Xfer     DIP Account              Maintain Balance                                  (76.278.17)                          . (76,278.17)
       2/8/2018         Xfer     DIP Account              Maintain Balance                                     (373.73)                               (373.73)
       2/9/2018         ACH      Capital One              Bank Fees                                                                (2,478.80)       (2,478.80)
       2/9/2018         ACH      Capital One              Bank Fees                                                                   (29,95)          (29.95)
      2/12/2018         Xfer     DIP Account              Maintain Balance                                   (3,960.98)                             (3,960.98)
      2/13/2018         Xfer     DIP Account              Maintain Balance                                   (9,095.43)                             (9,095.43)
      2/14/2018         Xfer     DIP Account              Maintain Balance                                  (49,523.20)                            (49,523.20)
      2/15/2018         Xfer     DIP Account              Maintain Balance                                   (2,476.61)                             (2,476.61)
      2/16/2018         Bank     Capital One              Bank Fees                                                                  (947.85)         (947.85)
      2/16/2018         Xfer     DIP Account              Maintain Balance                                     (661 .07)                              (661.07)
      2/20/2018         Xfer     DIP Account              Maintain Balance                                  (10,020.79)                            (10,020.79)
      2/21/2018         Xfer     DIP Account              Maintain Balance                                  (13,678.66)                            (13,678.66)
      2/22/2018         Xfer     DIP Account              Maintain Balance                                   (1,325.49)                             (1,325.49)
      2/23/2018         Xfer     DIP Account              Maintain Balance                                   (1,549.58)                             (1,549.58)
      2/26/2018         Xfer     DIP Account              Maintain Balance                                   (7,477.06)                             (7,477.06)
      2/27/2018         Xfer     DIP Account              Maintain Balance                                   (9,931.87)                             (9,931.87)
      2/28/2018         Xfer     DIP Account              Maintain Balance                                  (25,336.26)                            (25,336.26)
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                                                                                                                                                         0.00
                                                                                                                                                         0.00
                                                                                                                                                         0.00
                                            TOTAL DISBURSEMENTS THIS PERIOD:                               (243,749.69)            (3,456.60)   ($247,206.29)
* Fill in amounts in this column if they are TRANSFERS to another DIP account (e.g. Payroll or Tax); the "amount" column \'ill
be tilled in for you.
** Fill in amounts in this column if they are DISBURSEMENTS to outside payees; the "amount" column will be filled in for you.




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                                                               GENERAL ACCOUNT
                                                              BANK RECONCILIATION

                           Bank statement Date:                             2/28/2018 Balance on Statement:   $150,232.00

Plus deposits in transit (a):
                                                                      Deposit Date        Deposit Amount




TOTAL DEPOSITS IN TRANSIT                                                                                            0.00

Less Outstanding Checks (a):
                    Check Number                                       Check Date          Check Amount




TOTAL OUTSTANDING CHECKS:                                                                                            0.00

Bank statement Adjustments:
Explanation of Adjustments-




ADJUSTED BANK BALANCE:                                                                                        $150,232.00
* It is tteeeptable to replace this form with a similar Form
** Please attach a detailed explanation of any hank statement adjustment
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                          I. CASH RECEIPTS AND DISBURSEMENTS
                                     B. (Disbursements)

1, TOTAL RECEIPTS PER ALL PRIOR DISBURSEMENT ACCOUNT REPOR                 5,898,736.39

2. LESS: TOTAL DISBURSEMENTS PER ALL PRIOR DISBURSEMENT                    5,904,824.04
ACCOUNT REPORTS

3. BEGINNING BALANCE:                                                        106,913.47

4. RECEIPTS DURING CURRENT PERIOD:                                            75,000.00
   (Transferred from General & DIP Account)

5. BALANCE:                                                                  181,913.47

6. LESS: TOTAL DISBURSEMENTS DURING CURRENT PERIOD
   TOTAL DISBURSEMENTS THIS PERIOD:***                                      (106,020.69)

7. ENDING BALANCE:                                                            75,892.78

8. DISBURSEMENT Account Number(s):                       575

  Depository Name & Location:                   Capital One




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     TOTAL DISBURSEMENTS FROM DISBURSEMENT ACCOUNT FOR CURRENT PERIOD

  Date      Check
mm/dd/yyyy Number              Payee                             Purpose         Amount
  2/1/2018 ACH       CA Board of Equalization CA Sales Tax                           (49.00)
  2/5/2018    5800   Matthew Ferguson            Commission                         (394.67)
  2/9/2018    5802   Louis Geoffrey Greulich     Expense Reimbursement            (1,440.49)
  2/9/2018    5803   Louis Geoffrey Greulich     CEO Salary                      (12,500.00)
 2/12/2018    5801   Scott Warmus                Commission                         (149.18)
 2/12/2018    5798   Scott Warmus                Commission                       (3,555.21)
 2/12/2018    5804   Matthew Pliskin             CFO Salary                      (18,000.00)
 2/13/2018    5807   LF Logisitcs                Freight                            (815.28)
 2/14/2018    5808   U.S. Customs and Border P Customs                              (359.00)
 2/14/2018    5806   Business Systems Integrator IT                                 (695.00)
 2/14/2018    5813   IntraLink                   Data Room                          (923.87)
 2/14/2018    5811   IntraLink                   Data Room                          (923.87)
 2/14/2018   5812    IntraLink                   Data Room                          (923.87)
 2/14/2018   5814    IntraLink                   Data Room                        (2,771.60)
 2/16/2018   5809    American Express            Final Credit Card Payment       (31,690.24)
 2/22/2018   5810    Expeditors Canada, Inc      Freight                            (140.12)
 2/28/2018 Wire      Matthew Pliskin             CFO Salary                      (18,189.29)
 2/28/2018 Wire      Louis Geoffrey Greulich     CEO Salary                      (12,500.00)




                                           TOTAL DISBURSEMENTS THIS PERIOD:      (106,020.69)


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                                                              DISBURSEMENTS ACCOUNT
                                                                BANK RECONCILIATION

                             Bank statement Date:                           2/28/2018 Balance on Statement:   $75,892.78

Plus deposits in transit (a):
                                                                      Deposit Date        Deposit Amount




TOTAL DEPOSITS IN TRANSIT                                                                                             0.00

Less Outstanding Checks (a):
                    Check Number                                       Check Date         Check Amount

                                          5596                              10/6/2017               575.38
                                          5634                             10/13/2017               125.00
                                          5692                              11/7/2017               150.00
                                          5697                              11/7/2017             2,400.33
                                          5712                             11/14/2017               246.08
                                          5720                             11/14/2017             4,044.22
                                          5780                             12/14/2017                58.14




TOTAL OUTSTANDING CHECKS:                                                                                        7,599.15

Bank statement Adjustments:
Explanation of Adjustments-




ADJUSTED BANK BALANCE:                                                                                        $68,293.63

* It is acceptable to replace this form with a similar form                Page 6 of 16
** Please attach a detailed explanation of any bank statement adjustment
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                            I. CASH RECEIPTS AND DISBURSEMENTS
                                       C. (DIP AcCount)

1. TOTAL RECEIPTS PER ALL PRIOR DIP ACCOUNT REPORTS                        4,500,913.16

2. LESS: TOTAL DISBURSEMENTS PER ALL PRIOR DIP                             3,632,735.90
ACCOUNT REPORTS

3. BEGINNING BALANCE:                                                        868,177.26

4. RECEIPTS DURING CURRENT PERIOD:                                           520,240.23
   (Transferred from General Account)

5. BALANCE:                                                                1,388,417.49

6. LESS: TOTAL DISBURSEMENTS DURING CURRENT PERIOD
   TOTAL DISBURSEMENTS THIS PERIOD:***                                       (75,015.00)

7. ENDING BALANCE:                                                         1,313,402.49

8. DIP Account Number(s):                                        806

  Depository Name & Location:                  Capital One




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           TOTAL DISBURSEMENTS FROM DIP ACCOUNT FOR CURRENT PERIOD

  Date      Check
mm/dd/yyyy Number            Payee                              Purpose                   Amount
 2/28/2018 xfer     Disbursement Account      For payment to from disbursement acct       (75,000.00)
 2/27/2018 bank     Capital One               Wire trasfer fee, for receipt of Schwab $       (15.00)




                                           TOTAL DISBURSEMENTS THIS PERIOD:               (75,015.00)


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                                                                  DIP ACCOUNT
                                                               BANK RECONCILIATION

                            Bank statement Date:                            2/28/2018 Balance on Statement:   $1,313,402.49

Plus deposits in transit (a):
                                                                      Deposit Date        Deposit Amount




TOTAL DEPOSITS IN TRANSIT                                                                                              0.00

Less Outstanding Checks (a):
                    Check Number                                       Check Date          Check Amount




TOTAL OUTSTANDING CHECKS:                                                                                              0.00

Bank statement Adjustments:
Explanation of Adjustments-




ADJUSTED BANK BALANCE:                                                                                        $1,313,402.49

* It is acceptable to replace this form with a similar form                Page 9 of 16
** Please attach a detailed explanation of any bank statement adjustment
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                              I. CASH RECEIPTS AND DISBURSEMENTS •
                                         C. (Trust Account)

1. TOTAL RECEIPTS PER ALL PRIOR DIP ACCOUNT REPORTS                         25,519,139.64

2. LESS: TOTAL DISBURSEMENTS PER ALL PRIOR DIP                              11,690,383,51
ACCOUNT REPORTS

3. BEGINNING BALANCE:                                                       13,828,756.13

4. RECEIPTS DURING CURRENT PERIOD:                                               2,662.42


5. BALANCE:                                                                 13,831,418.55

6. LESS: TOTAL DISBURSEMENTS DURING CURRENT PERIOD
   TOTAL DISBURSEMENTS THIS PERIOD:***                                          (3,568.53)

7. ENDING BALANCE:                                                          13,827,850.02

8. Trust Account Number(s):

  Depository Name & Location:                    First Republic Bank




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              TOTAL DISBURSEMENTS FROM TRUST ACCOUNT FOR CURRENT PERIOD

  Date         Check
mm/dd/yyyy    Number              Payee                             Purpose     Amount
   2/8/2018       314 ASM Capital V, L.P.             Pre-petition payment        (3,568.53)




                                            TOTAL DISBURSEMENTS THIS PERIOD:        (3,568.53)
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                                                                 TRUST ACCOUNT
                                                               BANK RECONCILIATION

                            Bank statement Date:                             2/28/2018 Balance on Statement:         $13,825,187.60

 Plus deposits in transit (a):
                                                                       Deposit Date        Deposit Amount




TOTAL DEPOSITS IN TRANSIT                                                                                                      0.00

Less Outstanding Checks (a):
                    Check Number                                       Check Date          Check Amount




TOTAL OUTSTANDING CHECKS:                                                                                                     0.00

Bank statement Adjustments:                                                                                                   0.00
Explanation of Adjustments-                                     Statement from escrow agent includes all in-transit checks




ADJUSTED BANK BALANCE:                                                                                              $13,825,187.60

* It is acceptable to replace this form with a similar form
** Please attach a detailed explanation of any bank statement adjustment

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                                                       I. D SUMMARY SCHEDULE OF CASH

ENDING BALANCES FOR THE PERIOD:
                                (Provide a copy of monthly account statements for each of the below)


                                                                    General Account:                               150,232,00
                                                              Disbursements Account:                                75,892.78
                                                                       DIP Account:                              1,313,402.49
                                                                      Trust Account:                            13,825,187.60
    *Other Accounts:


       *Other Monies:
                                                         **Petty Cash (from below):                                            0.00

TOTAL CASH AVAILABLE:                                                                                                                 15,364,714.87



Petty Cash Transactions:
        Date                                 Purpose                                                             Amount




TOTAL PETTY CASH TRANSACTIONS:                                                                                                                0.00



* Specify the Type of holding (e.g. CD, Savings Account, Investment Security), and the depository name, location & accountif
** Attach Exhibit Itemizing all petty cash transactions




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                     II. STATUS OF PAYMENTS TO SECURED CREDITORS, LESSORS
                           AND OTHER PARTIES TO EXECUTORY CONTRACTS

                                                                      Post-Petition
                           Frequency of Payments                   payments not made
 Creditor, Lessor, Etc.          (Mo/Qtr)        Amount of Payment     (Number)                   Total Due
                                                                                                              0.00




                                                                             TOTAL DUE:                    0.00


                                            III. TAX LIABILITIES

FOR THE REPORTING PERIOD:
                                                           Gross Sales Subject to Sales Tax:
                                                                         Total Wages Paid:            30,500.00

                                                   Total Post-Petition                         Date Delinquent
                                                    Amounts Owing Amount Delinquent             Amount Due
                          Federal Withholding      N/A
                          State Withholding        N/A
                          FICA- Employer's Share   N/A
                          FICA- Employee's Share   N/A
                          Federal Unemployment     N/A
                          Sales and Use            N/A
                          Real Property            N/A
                 Other:
                                        TOTAL:                     0.00               0.00
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                                     IV. AGING OF ACCOUNTS PAYABLE AND RECEIVABLE

                                                                            *Accounts Payable                            Accounts Receivable
                                                                              Post-Petition                         Pre-Petition     Post-Petition
                                                            30 days or less     1,227,553.95                                  0.00        39,743.79
                                                              31 - 60 days                                                    0.00
                                                              61 - 90 days                                                    0.00
                                                             91 - 120 days                                                    0.00
                                                            Over 120 days                                                     0.00
                                                                  TOTAL:        1,227,553.95                                  0.00        39,743.79

                                                            V. INSURANCE COVERAGE

                                                                                        Amount of               Policy Expiration            Premium Paid
                                                        Name of Carrier                 Coverage                      Date                   Through (Date)
                        General Liability See Schedule of Insurance
                  Worker's Compensation
                                Casualty
                                 Vehicle
                Others:



                                          VI. UNITED STATES TRUSTEE QUARTERLY FEES
                                                       (TOTAL PAYMENTS)

 Quarterly Period                 Total                                                                                                      Quarterly Fees
  Ending (Date)               Disbursements              Quarterly Fees                  Date Paid                 Amount Paid                Still Owing
       30-Sep-2017                 762,044.40                     4,875.00                 14-Nov-2017                     4,875.00                        0.00
       30-Sep-2017                       0.00                       325.00                 29-Nov-2017                       325.00                        0.00
       31-Dec-2017              16,779,843.22                    20,000.00                  31-Jan-2017                   13,000.00                    7,000.00
       31-Dec-2017                                                7,000.00                  1-Mar-2018                     7,000.00                        0.00
       31-Dec-2017                            0.00                  325.00                  31-Jan-2017                      325.00                        0.00
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                                                                                                                                                           0.00
                                                                 32,525.00                                               25,525.00                     7,000.00

* Post-Petition Accounts Payable SHOULD NOT include professionals' fees and expenses which have been incurred but not yet awarded by the court. Post-Petition
Accounts Payable SHOULD include professionals' fees and expenses authorized by Court Order but which remain unpaid as of the close of the period report

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                                      VII SCHEDULE OF COMPENSATION PAID TO INSIDERS

                                                          Date of Order                                                      Ciross
                                                           Authorizing                                                  Compensation Paid
            Name of Insider                               Compensation                  *Authorized Gross Compensation. During the Month
Matthew Pliskin                                                         9/25/2017 $18,000 per month plus travel exp            18,000.00
Louis Geoffrey Greulich                                                 9/25/2017 $35,000 per month plus travel exp            12,500.00
                                                                                  - reduced to 12.5k /mth post asset sale




                                   VIII. SCHEDULE OF OTHER AMOUNTS PAID TO INSIDERS

                                                         Date of Order
                                                          Authorizing                                                   Amount Paid
           Name of Insider                               Compensation                            Description           During the Month




Please indicate how compensation was identified in the order (e.g. $1,000/week, $2,500/month)

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                                                    IX. PROFIT AND LOSS STATEMENT
                                                              (ACCRUAL BASIS ONLY)

                                                                                 Current Month        Cumulative Post-Petition
Sales/Revenue:
   Gross Sales/Revenue                                                                        0.00              3,280,710.04
   Less: Returns/Discounts                                                                    0.00                583,862.89
                                                           Net Sales/Revenue                  0.00              2,696,847.15

Cost of Goods Sold:
  Cost of Goods Sold                                                                                             1,912,731.53
  Cost of Goods Sold - Freight                                                                                      67,713.47

                                             Cost of Goods Sold (COGS)                        0.00               1,980,445.00

Gross Profit                                                                                  0.00                716,402.16

     Other Operating Income (Itemize)

Operating Expenses:
  Payroll - Insiders                                                                    30,500.00                 457,352.47
  Payroll - Other Employees                                                                                       934,158.23
  Payroll Taxes                                                                                                    51,196.36
  Other Taxes (Itemize)                                                                                                 0.00
  Depreciation and Amortization                                                                                    44,346.16
  Rent Expense - Real Property                                                                                     26,748.73
  Lease Expense - Personal Property                                                                                 1,124.90
  Insurance                                                                               5,765.16                 40,093.50
  Real Property Taxes                                                                                               1,200.00
  Telephone and Utilities                                                                                          20,337.66
  Repairs and Maintenance                                                                                             879.90
  Travel and Entertainment (Itemize)                                                                              122,186.94
  Miscellaneous Operating Expenses (Itemize)                                               962.85                 722,286.48
                              Total Operating Expenses                                  37,228.01               2,421,911.33
                                      Net Gain/(Loss) from Operations                   (37,228.01)            (1,705,509.18)

Non-Operating Income:
  Interest Income                                                                         2,785.83                  9,479.71
  Net Gain on Sale of Assets (Itemize)                                                                         13,137,278.41
  Other (Itemize)
                           Total Non-Operating income                                     2,785.83             13,146,758.12

Non-Operating Expenses:
  Interest Expense                                                                                                761,520.06
  Legal and Professional (Itemize)                                                                              3,069,193.09
  Other (Itemize) - Income Tax Expense
                         Total Non-Operating Expenses                                         0.00              3,830,713.15

NET INCOME/(LOSS)                                                                       (34,442.18)             7,610,535.79
(Attach exhibit listing all itemizations required above)




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                                             X. BALANCE SHEET
                                             (ACCRUAL BASIS ONLY)


ASSETS                                                           Current Month End
  Current Assets:
  Unrestricted Cash                                                   15,364,714.87
  Restricted Cash
  Accounts Receivable                                                    39,743.79
  Inventory
  Notes Receivable
  Prepaid Expenses
  Other (Itemize)
                                        Total Current Assets                          15,404,458.66

Property, Plant, and Equipment
Accumulated Depreciation/Depletion
                        Net Property, Plant, and Equipment                                     0.00

Other Assets (Net of Amortization):
  Due from Insiders                                                           0.00
  Other (Itemize)
                                          Total Other Assets                                   0.00
TOTAL ASSETS                                                                          15,404,458.66

LIABILITIES
Post-petition Liabilities:
   Accounts Payable                                                   1,227,553.95
  Taxes Payable                                                         187,083.37
  Notes Payable
   Professional fees                                                  1,415,822.38
  Secured Debt
  Other (Itemize)
                             Total Post-petition Liabilities                           2,830,459,70

Pre-petition Liabilities:
   Secured Liabilities
   Priority Liabilities
   Unsecured Liabilities
   Other (Itemize)
                                Total Pre-petition Liabilities                                 0.00
TOTAL LIABILITIES                                                                      2,830,459.70

EQUITY:
  Pre-petition Owners' Equity                                         4,925,463.17
  Post-petition Profit/(Loss)                                         7,610,535.79
  Direct Charges to Equity                                               38,000.00
TOTAL EQUITY                                                                          12,573,998.96
TOTAL LIABILITIES & EQUITY                                                            15,404,458.66
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                                               Xl. QUESTIONNAIRE


                                                                                                            No        Yes
1.   Has the debtor-in-possession made any payments on its pre-petition unsecured debt, except as
     have been authorized by the court? if "Yes", explain below:
                                                                                                             x


2.   Has the debtor-in-possession during this reporting period provided compensation or remuneration
     to any officers, directors, principals, or other insiders without appropriate authorization? If "Yes",
     explain below:                                                                                         No        Yes
                                                                                                             x



3.   State what progress was made during the reporting period toward filing a plan of reorganization
     Plan went effective on Feb 28 2018.

4.   Describe potential future developments which may have a significant impact on the case;

5.   Attach copies of all Orders granting relief from the automatic stay that were entered during the
     reporting period.


     Did you receive any exempt income this month, which is not set forth in the operating report? If
     "Yes". please set forth the amounts and sources of the income below.                                   No        Yes
                                                                                                             x


     Matthew Pliskin, CFO,
     declare under penalty of perjury that 1 have fully read and understood the foregoing debtor-in-
     possession operating report and that the information contained herein is true and complete to the
     best of my knowledge.




        /2.7 /19
      Date                                          Page 16 of 16                Principal for debtor-in-possession
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       ICPW LIQUIDATION CORPORATION
       DISBURSEMENT ACCOUNT                                                         1 Contact your Relationship Manager to discuss
       1920 HUTTON CT                                                                 targeted solutions for your evolving business needs.
       SUITE 300
       DALLAS TX 7 5234-901 7




 ACCOUNT SUMMARY                             FOR PERIOD FEBRUARY 01, 2018 - FEBRUARY 28, 2018

                                                                                                                   ICPW LIQUIDATION
                                                               575                                                     CORPORATION
Previous Balance 01/31 18                                 106,913.47         Number of Days in Cycle                               28
1 Deposits/Credits                                        $75,000,00         Minimum Balance This Cycle                    $31,582.07
18 Checks/Debits                                       ($106,020.69)         Average Collected Balance                     $66,225.09
Service Charges                                                $0.00
Ending Balance 02/28/18                                   $75,892.78

ACCOUNT DETAIL                      FOR PERIOD FEBRUARY 01, 2018            - FEBRUARY 28, 2018
                                                                                                                      ICPW LIQUIDATION
                                                                  575                                                     CORPORATION
Date       Description                                                  Deposits/Credits    Withdrawals/Debits          Resulting Balance
02/01      ACH Withdrawal BOARDEQUALIZATIO                                                               $49.00               $106,864.47
           BOE E-FILE 020118 IRONCLAD
           PERFORMANCE W 00068252031
02/05      Check     5800                                                                                 $394.67              $106,469.80
02/09      Check     5803                                                                              $12,500.00               $93,969.80
02/09      Check     5802                                                                               $1,440.49               $92,529.31
02/12      Check     5804                                                                              $18,000.00               $74,529.31
02/12      Check     5798                                                                               $3,555.21               $70,974.10
02/12      Check     5801                                                                                 $149.18               $70,824.92
02/13      Check     5807                                                                                 $815.28               $70,009.64
02/14      Check     5814                                                                               $2,771.60               $67,238.04
02/14      Check     5812                                                                                 $923.87               $66,314.17
02/14      Check     5811                                                                                 $923.87               $65,390.30
02/14      Check     5813                                                                                 $923.87               $64,466.43
02/14      Check     5806                                                                                 $695.00               $63,771.43
02/14      Check     5808                                                                                 $359.00               $63,412A3
02/16      Check     5809                                                                              $31,690.24               $31,722.19
02/22      Check     5810                                                                                 $140.12               $31,582.07
02/28      Book transfer credit FROM ...3806                                 $75,000.00                                        $106,582.07


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ACCOUNT DETAIL             CONTINUED FOR PERIOD FEBRUARY 01, 2018              - FEBRUARY 28, 2018
Date     Description                                        Deposits/Credits     Withdrawals/Debits       Resulting Balance
02/28    Wire transfer withdrawal GREULICH                                               $12,500.00              $94,082.07
         FAMILY TRUST 022818 USD0002981367
02/28    Wire transfer withdrawal MATTHEW                                                $18,189.29                  $75,892.78
         PLISKIN 022818 USD0002981656
Total                                                            $75,000.00             $106,020.69
                                                                                                       1CPW LIQUIDATION
                                                  575                                                     CORPORATION
Checks * designates gap in check sequence
Check No. Date                   Amount      Check No.   Date          Amount      Check No.    Date                  Amount
5798        02/12              $3,555.21     5804        02/12       $18,000.00    5810        02/22                 $140.12
5800*       02/05                 $394.67    5806*       02/14          $695.00    5811        02/14                 $923.87
5801        02/12                 $149.18    5807        02/13          $815.28    5812        02/14                 $923.87
5802        02/09              $1,440.49     5808        02/14          $359.00    5813        02/14                 $923.87
5803        02/09            $12,500.00      5809        02/16     . $31,690.24    5814        02/14               $2,771.60




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       ICPW LIQUIDATION CORPORATION
       "DIP" CENTRAL DISTRICT OF CALIFORNIA                                       I Contact your Relationship Manager to discuss
                                                                                    targeted solutions for your evolving business needs.
       CASE # 1: 17 -BK-12408-MB
       1920 HUTTON CT, SUITE 300
       DALLAS TX 75234-9017




ACCOUNT SUMMARY                              FOR PERIOD FEBRUARY 01, 2018 - FEBRUARY 28, 2018

                                                                                                                 ICPW LIQUIDATION
                                                         806                                                         CORPORATION
Previous Balance 01/31/18                               $868,177.26        Number of Days in Cycle                               28
19 Deposits/Credits                                     $520,240.23        Minimum Balance This Cycle                   $868,177.26
2 Checks/Debits                                        ($75,015.00)        Average Collected Balance                  $1,020,665.42
Service Charges                                               $0.00
Ending Balance 02/28/18                               $1,313,402.49

ACCOUNT DETAIL                      FOR PERIOD FEBRUARY 01, 2018           - FEBRUARY 28, 2018
                                                                                                                    ICPW LIQUIDATION
                                                          806                                                           CORPORATION
Date       Description                                                 Deposits/Credits    Withdrawals/Debits         Resulting Balance
02/01      Funding Transfer Credit Transfer from                                  $0.15                                    $868,177.41
           4670100567
02/02      Funding Transfer Credit Transfer from                            $18,707.70                                       $886,885.11
           4670100567
02/05      Funding Transfer Credit Transfer from                             $8,718.18                                       $895,603.29
           4670100567
02/06      Funding Transfer Credit Transfer from                             $4,634.76                                       $900,238.05
           4670100567
02/07      Funding Transfer Credit Transfer from                            $76,278.17                                       $976,516.22
           4670100567
02/08      Funding Transfer Credit Transfer from                               $373.73                                       $976,889.95
           4670100567
02/12      Funding Transfer Credit Transfer from                             $3,960.98                                       $980,850.93
           4670100567
02/13      Funding Transfer Credit Transfer from                             $9,095.43                                       $989,946.36
           4670100567
02/14      Funding Transfer Credit Transfer from                            $49,523.20                                     $1,039,469.56
           4670100567
02/15      Funding Transfer Credit Transfer from                             $2,476.61                                     $1,041,946.17
           4670100567


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ACCOUNT DETAIL        CONTINUED FOR PERIOD FEBRUARY 01, 2018       FEBRUARY 28, 2018
Date  Description                               Deposits/Credits   Withdrawals/Debits        Resulting Balance
02/16 Funding Transfer Credit Transfer from              $661.07                                $1,042,607.24
      4670100567
02/20 Funding Transfer Credit Transfer from          $10,020.79                                    $1,052,628.03
      4670100567
02/21 Funding Transfer Credit Transfer from          $13,678.66                                    $1,066,306.69
      4670100567
02/22 Funding Transfer Credit Transfer from           $1,325.49                                    $1,067,632.18
      4670100567
02/23 Funding Transfer Credit Transfer from           $1,549.58                                    $1,069,181.76
      4670100567
02/26 Funding Transfer Credit Transfer from           $7,477.06                                    $1,076,658.82
      4670100567
02/27 Wire transfer deposit IRONCLAD                $276,490.54                                    $1,353,149.36
      PERFORM ANCE WEAR 022718
      USD************8175
02/27 Funding Transfer Credit Transfer from           $9,931.87                                    $1,363,081.23
      4670100567
02/27 Wire transfer fee IRONCLAD PERFORM                                       $15.00              $1,363,066.23
      ANCE WEAR 022718
02/28 Funding Transfer Credit Transfer from          $25,336.26                                    $1,388,402.49
      4670100567
02/28 Book transfer debit TO ...0575                                       $75,000.00             $1,313,402.49
Total                                               $520,240.23            $75,015.00




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                                                                                                         AGE- YOUR CASH
                                                                          k..Y: 11,',00t-itots46-1                  EY MARKET ' CDs LOANS




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       OPERATING ACCOUNT                                                              1 Contact your Relationship Manager to discuss
                                                                                        targeted solutions for your evolving business needs.
       1920 HUTTON CT
       SUITE 300
       DALLAS TX 75234-9017




ACCOUNT SUMMARY                              FOR PERIOD FEBRUARY 01, 2018 - FEBRUARY 28, 2018

                                                                                                                     ICPW LIQUIDATION
                                                               567                                                       CORPORATION
Previous Balance 01/31/18                                $150,000.00        Number of Days in Cycle                                 28
75 Deposits/Credits                                      $247,438.29        Minimum Balance This Cycle                     $149,729.24
21 Checks/Debits                                       ($247,206.29)        Average Collected Balance                      $144,136.59
Service Charges                                                $0.00
Ending Balance 02/28/18                                  $150,232.00

ACCOUNT DETAIL                      FOR PERIOD FEBRUARY 01, 2018            - FEBRUARY 28, 2018
                                                                                                                        ICPW LIQUIDATION
                                                                 567                                                        CORPORATION
Date       Description                                                 Deposits/Credits         Withdrawals/Debits        Resulting Balance
02/01      Lockbox deposit                                                      $202.15                                        $150,202.15
02/01      Transfer debit Transfer to 4670153806                                                                $0.15           $150,202.00
02/02      ACH deposit COF MERCHNT SET COMB.                                 $13,456.52                                        $163,658.52
           DEP. 020218 IRONCLAD PERFORMANCE
           7700038769
02/02      ACH deposit FASTENAL COMPANY                                        $4,868.36                                          $168,526.88
           DIRECT PAY 020218 IRONCLAD
           PERFORMANCE W 10082444
02/02      ACH deposit ORGILL INC                                                $180.82                                          $168,707.70
           VENDORPYMT 020218 IRONCLAD
           PERFORMANCE 0090405
02/02      Transfer debit Transfer to 4670153806                                                         $18,707.70              $150,000.00
02/05      ACH deposit COF MERCHNT SET COMB.                                   $4,799.37                                         $154,799.37
           DEP. 020518 IRONCLAD PERFORMANCE
           7700038769
02/05      Lockbox deposit                                                    $2,789.94                                          $157,589.31
02/05      ACH deposit ACE HARDWARE                                           $1,629.81                                          $159,219.12
           EPOSPYMNTS 020518 IRONCLAD
           PERFORMANCE W ***********8752




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ACCOUNT DETAIL          CONTINUED FOR PERIOD FEBRUARY 01, 2018       - FEBRUARY 28, 2018
Date      Description                             Deposits/Credits     Withdrawals/Debits        Resulting Balance
02/05     ACH deposit COF MERCHNT SET COMB.                $866.78                                     $160,085.90
          DEP. 020518 IRONCLAD PERFORMANCE
          7700038769
02/05     ACH deposit ORGILL INC                          $470.65                                        $160,556.55
          VENDORPYMT 020518 IRONCLAD
          PERFORMANCE 0090405
02/05     ACH deposit ACE HARDWARE                        $397.72                                        $160,954.27
          EPOSPYMNTS 020518 IRONCLAD
          PERFORMANCE W ***********0171
02/05     ACH deposit COF MERCHNT SET COMB.               $355.39                                        $161,309.66
          DEP. 020518 IRONCLAD PERFORMANCE
         7700038769
02/05    ACH deposit VALLEN DISTRIBUT EDI                 $124.80                                        $161,434.46
         PYMNTS 020518 0008IRONCLAD
         PERFORM 0000987659
02/05    ACH deposit HOME DEPOT 0537 EDI                   $72.72                                        $161,507.18
         PAYMNT 020518 IRONCLAD
         PERFORMANCE W 2000300253
02/05    Transfer debit Transfer to 4670153806                                   $8,718.18               $152,789.00
02/06    Lockbox deposit                               $67,115.13                                        $219,904.13
02/06    Wire transfer deposit NOW                      $1,373.93                                        $221,278.06
         NETHERLANDS B.V. 020618
         USDF1S1802027567200
02/06    ACH deposit ORGILL INC                           $450.12                                        $221,728.18
         VENDORPYMT 020618 IRONCLAD
         PERFORMANCE 0090405
02/06    ACH deposit HOME DEPOT 0537 EDI                   $20.58                                        $221,748.76
         PAYMNT 020618 IRONCLAD
         PERFORMANCE W 2000245239
02/06    Transfer debit Transfer to 4670153806                                  $4,634.76                $217,114.00
02/07    ACH deposit FASTENAL COMPANY                   $5,593.92                                        $222,707.92
         DIRECT PAY 020718 IRONCLAD
         PERFORMANCE W 10082444
02/07    Foreign Check Collection INTERNATIONAL         $2,502.35                                        $225,210.27
         INTERNATL 020718 CAD60010846-00
02/07    ACH deposit True Value Co PAYMENT                $836.03                                        $226,046.30
         020718 IRONCLAD PERFORMANCE W
         0443527
02/07    ACH deposit COF MERCHNT SET COMB.                $231.87                                        $226,278.17
         DEP. 020718 IRONCLAD PERFORMANCE
         7700038769
02/07    Transfer debit Transfer to 4670153806                                 $76,278.17                $150,000.00
02/08    ACH deposit COF MERCHNT SET COMB.                $341.61                                        $150,341.61
         DEP. 020818 IRONCLAD PERFORMANCE
         7700038769
02/08    ACH deposit HOME DEPOT 0537 EDI                   $32.12                                        $150,373.73
         PAYMNT 020818 IRONCLAD
         PERFORMANCE W 2000324209

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 ICPW LIQUIDATION CORPORATION
 OPERATING ACCOUNT

 ACCOUNT DETAIL                      CONTINUED FOR PERIOD FEBRUARY 01, 2018              - FEBRUARY 28, 2018
 Date       Description                                               Deposits/Credits     Withdrawals/Debits       Resulting Balance
 02/08      Transfer debit Transfer to 4670153806                                                      $373.73            $150,000.00
 02/09      Lockbox deposit                                                  $1,219.91                                    $151,219.91
 02/09      ACH deposit PORTER-WALKER                                        $1,018.08                                    $152,237.99
            PAYMENTS 020918 IRONCLAD
            PERFORMANCE
 02/09      ACH Withdrawal COF MERCHNT BILL COF                                                         $2,478.80        $149,759.19
            BILLNG 020918 IRONCLAD
            PERFORMANCE W 0A351P
 02/09      ACH Withdrawal COF MERCHNT BILL COF                                                           $29.95         $149,729.24
            BILLNG 020918 IRONCLAD
            PERFORMANCE W 0A2610
 02/12      ACH deposit True Value Co PAYMENT                                $3,525.12                                   $153,254.36
            021218 IRONCLAD PERFORMANCE W
            0444548
 02/12      ACH deposit HOME DEPOT 0537 EDI                                    $328.50                                   $153,582.86
            PAYMNT 021218 IRONCLAD
            PERFORMANCE W 2000425279
 02/12      ACH deposit COF MERCHNT SET COMB.                                  $220.12                                   $153,802.98
            DEP. 021218 IRONCLAD PERFORMANCE
            7700038769
 02/12      ACH deposit VALLEN DISTRIBUT EDI                                   $119.69                                   $153,922.67
            PYMNTS 021218 0008IRONCLAD
            PERFORM 0000990571
 02/12      ACH deposit COF MERCHNT SET COMB.                                   $38.31                                   $153,960.98
            DEP. 021218 IRONCLAD PERFORMANCE
            7700038769
 02/12      Transfer debit Transfer to 4670153806                                                       $3,960.98        $150,000.00
 02/13      Lockbox deposit                                                $49,067.22                                    $199,067.22
 02/13      ACH deposit ACE HARDWARE                                        $5,763.24                                    $204,830.46
            EPOSPYMNTS 021318 IRONCLAD
            PERFORMANCE W ***********5275
 02/13      Wire transfer deposit 5.11 INC 021318                            $3,249.58                                   $208,080.04
            USD************3628
 02/13      ACH deposit COF MERCHNT SET COMB.                                   $72.34                                   $208,152.38
            DEP. 021318 IRONCLAD PERFORMANCE
            7700038769
 02/13      ACH deposit HOME DEPOT 0537 EDI                                      $9.05                                   $208,161.43
            PAYMNT 021318 IRONCLAD
            PERFORMANCE W 2000395149
 02/13      Transfer debit Transfer to 4670153806                                                       $9,095.43        $199,066.00
 02/14      Lockbox deposit                                                   $831,81                                    $199,897.81
 02/14      Foreign Check Collection INTERNATIONAL                            $370.90                                    $200,268.71
            INTERNATL 021418 CAD60010867-00


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ACCOUNT DETAIL         CONTINUED FOR PERIOD FEBRUARY 01, 2018        - FEBRUARY 28, 2018
Date     Description                              Deposits/Credits     Withdrawals/Debits    Resulting Balance
02/14    ACH deposit COF MERCHNT SET COMB.                  $85.49                                $200,354.20
         DEP. 021418 IRONCLAD PERFORMANCE
         7700038769
02/14    Transfer debit Transfer to 4670153806                                  $49,523.20        $150,831.00
02/15    Lockbox deposit                                $1,563.51                                 $152,394.51
02/15    ACH deposit FASTENAL COMPANY                     $997.72                                 $153,392.23
         DIRECT PAY 021518 IRONCLAD
         PERFORMANCE W 10082444
02/15    Foreign Check Collection INTERNATIONAL           $291.57                                 $153,683.80
         INTERNATL 021518 CAD60010868-00
02/15    ACH deposit COF MERCHNT SET COMB.                $182.75                                 $153,866.55
         DEP. 021518 IRONCLAD PERFORMANCE
         7700038769
02/15    Foreign Check Collection INTERNATIONAL           $116.16                                 $153,982.71
         INTERNATL 021518 CAD60010868-00
02/15    ACH deposit HOME DEPOT 0537 EDI                   $56.90                                 $154,039.61
         PAYMNT 021518 IRONCLAD
         PERFORMANCE W 2000355185
02/15    Transfer debit Transfer to 4670153806                                   $2,476.61        $151,563.00
02/16    Lockbox deposit                                $6,589.13                                 $158,152.13
02/16    ACH deposit VALLEN DISTRIBUT EDI                  $37.17                                 $158,189.30
         PYMNTS 021618 0008IRONCLAD
         PERFORM 0000993003
02/16    ACH deposit HD SUPPLY USD - CASH                   $8.62                                 $158,197.92
         CONC 021618 IRONCLAD PERFORMANCE
         W
02/16    Analysis service charge debit ANALYSIS                                   $947.85         $157,250.07
         CHRG
02/16    Transfer debit Transfer to 4670153806                                    $661.07         $156,589.00
02/20    Lockbox deposit                               $12,251.92                                 $168,840.92
02/20    ACH deposit ACE HARDWARE                       $2,311.31                                 $171,152.23
         EPOSPYMNTS 022018 IRONCLAD
         PERFORMANCE W ***********6958
02/20    ACH deposit COF MERCHNT SET COMB.                $801.60                                 $171,953.83
         DEP. 022018 IRONCLAD PERFORMANCE
         7700038769
02/20    ACH deposit COF MERCHNT SET COMB.                $151.45                                 $172,105.28
         DEP. 022018 IRONCLAD PERFORMANCE
         7700038769
02/20    ACH deposit COF MERCHNT SET COMB.                 $75.60                                 $172,180.88
         DEP. 022018 IRONCLAD PERFORMANCE
         7700038769
02/20    ACH deposit COF MERCHNT SET COMB.                 $74.18                                 $172,255.06
         DEP. 022018 IRONCLAD PERFORMANCE
         7700038769
02/20    ACH deposit HOME DEPOT 0537 EDI                   $16.73                                 $172,271.79
         PAYMNT 022018 IRONCLAD
         PERFORMANCE W 2000395301

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 ICPW LIQUIDATION CORPORATION
 OPERATING ACCOUNT

  ACCOUNT DETAIL                      CONTINUED FOR PERIOD FEBRUARY 01, 2018              FEBRUARY 28, 2018
 Date  Description                                                     Deposits/Credits   Withdrawals/Debits    Resulting Balance
 02/20 Transfer debit Transfer to 4670153806                                                      $10,020.79          $162,251.00
 02/21 ACH deposit ACE HARDWARE                                               $1,427.66                               $163,678.66
       EPOSPYMNTS 022118 IRONCLAD
       PERFORMANCE W ***********0581
 02/21 Transfer debit Transfer to 4670153806                                                      $13,678.66           $150,000.00
 02/22 Lockbox deposit                                                        $1,218.95                                $151,218.95
 02/22 ACH deposit COF MERCHNT SET COMB.                                        $680.25                                $151,899.20
       DEP. 022218 IRONCLAD PERFORMANCE
       7700038769
 02/22 Foreign Check Collection INTERNATIONAL                                  $528.20                                 $152,427.40
       INTERNATL 022218 CAD60010883-00
 02/22 ACH deposit HOME DEPOT 0537 EDI                                         $116.09                                 $152,543.49
       PAYMNT 022218 IRONCLAD
       PERFORMANCE W 2000070729
 02/22 Transfer debit Transfer to 4670153806                                                       $1,325.49           $151,218.00
 02/23 Lockbox deposit                                                       $1,226.15                                 $152,444.15
 02/23 ACH deposit ORGILL INC                                                  $265.23                                 $152,709.38
       VENDORPYMT 022318 IRONCLAD
       PERFORMANCE 0090405
 02/23 ACH deposit REXEL            HSBC - REX                                   $65.20                                $152,774.58
       022318 0006IRONCLAD PERFORM
 02/23 Transfer debit Transfer to 4670153806                                                       $1,549.58           $151,225.00
 02/26 Lockbox deposit                                                       $9,849.47                                 $161,074.47
 02/26 ACH deposit ACE HARDWARE                                              $3,162.09                                 $164,236.56
       EPOSPYMNTS 022618 IRONCLAD
       PERFORMANCE W ***********1690
 02/26 ACH deposit COF MERCHNT SET COMB.                                     $1,224.08                                 $165,460.64
       DEP. 022618 IRONCLAD PERFORMANCE
       7700038769
 02/26 ACH deposit ACE HARDWARE                                              $1,145.19                                 $166,605.83
       EPOSPYMNTS 022618 IRONCLAD
       PERFORMANCE W ***********3005
 02/26 ACH deposit ACE HARDWARE                                                $261.07                                 $166,866.90
       EPOSPYMNTS 022618 IRONCLAD
       PERFORMANCE W ***********3613
 02/26 ACH deposit COF MERCHNT SET COMB.                                       $162.81                                 $167,029.71
       DEP. 022618 IRONCLAD PERFORMANCE
       7700038769
 02/26 ACH deposit COF MERCHNT SET COMB.                                       $141.59                                 $167,171.30
       DEP. 022618 IRONCLAD PERFORMANCE
       7700038769




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ACCOUNT DETAIL           CONTINUED FOR PERIOD FEBRUARY 01, 2018       FEBRUARY 28, 2018
Date     Description                               Deposits/Credits   Withdrawals/Debits    Resulting Balance
02/26    ACH deposit VALLEN DISTRIBUT EDI                   $135.00                              $167,306.30
         PYMNTS 022618 0008IRONCLAD
         PERFORM 0000994504
02/26    ACH deposit HOME DEPOT 0537 EDI                    $19.76                               $167,326.06
         PAYMNT 022618 IRONCLAD
         PERFORMANCE W 2000160738
02/26    Transfer debit Transfer to 4670153806                                  $7,477.06        $159,849.00
02/27    Lockbox deposit                                 $1,481.85                               $161,330.85
02/27    ACH deposit HOME DEPOT 0537 EDI                    $82.02                               $161,412.87
         PAYMNT 022718 IRONCLAD
         PERFORMANCE W 2000055596
02/27    Transfer debit Transfer to 4670153806                                 $9,931.87         $151,481.00
02/28    ACH deposit GRAINGER INTERNA                   $23,854.47                               $175,335.47
         PAYABLES 022818 0010IRONCLAD
         PERFORM IPW100
02/28    Lockbox deposit                                   $232.79                               $175,568.26
02/28    Transfer debit Transfer to 4670153806                                $25,336.26         $150,232.00
Total                                                  $247,438.29           $247,206.29




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ACCOUNT #:        83001
ACCOUNT NAME:        IRONCLAD PERFORMANCE WEAR CORP.
BANK NAME:        FIRST REPUBLIC BANK
BANK ACCOUNT #:                 638                                              Begining BALANCE                0.00

   DATE       NUMBER      Origin PAYEE                                         GL ACCOUNT            MEMO                 PAYMENT         DEPOSIT         BALANCI

9/28/2017     0               AR 1          CASH NOT AR                 4001                  9/8/17 wire from Radians                    1,000,000.00   1,000,000.0

9/30/2017     93017           AR 1          CASH NOT AR                 4001                  September 2017 interest                            8.22    1,000,008.2

10/20/2017    0               AR 1          CASH NOT AR                 4001                  Wire From:Protective                        1,000,000.00    2,000,008.2

10/25/2017    0               AR 1          CASH NOT AR                 4001                  Wire from: Brighton-Best                    1,000,000.00    3,000,008.2

10/31/2017    103117          AR 1          CASH NOT AR                 4001                  October 2017 interest                            136.99     3,000,145.2

11/612017     200         PAYABL 15923      Radians Wareham Holding                                                      1,000,000.00                     2,000,145.2

11/14/2017    0               AR 1          CASH NOT AR                 4001                  Wire                                       25,331,469 00   27,331,614.2

11/15/2017    201         PAYABL 15928      Radians Wareham Holding                                                      5,343,988.19                    21.987.626.0

11/15/2017    202         PAYABL 15940      Chang Bang Gloves (Hong                                                      1,228,307.56                    20,759,318.4

11/15/2017    203         PAYABL 15941      Won eel America Inc.                                                          785,358.50                     19,973,959.9

11/15/2017    204         PAYABL 15942      PT Mercindo Global                                                            444,674.64                     19,529,285.3

11/15/2017    205         PAYABL 15943      Mimasu Tsusho Co. LTD                                                          382,811.28                    19,146,474.0

11/15/2017    206         PAYA,B L. 15945   Advantage Media Serives                                                       178,522.75                     18,967,951.2

11/15/2017    207         PAYABL 15946      ILKWANGISCO LTD                                                                162,917.76                    18,805,033.5

11/15/2017    208         PAYABL 15947      PT SPORT GLOVE                                                                 144,238 66                    18,660,794.8

11/15/2017    209         PAYABL 15948      Winspeed Sports Shanghai                                                       152,830.45                    18,507,964.4

11/15/2017    210         PAYABL 15949      Ka Hung Industrial                                                              38,934.90                    18,469,029.5

11/15/2017    211         PAYABL 15950      AML United Limited                                                              28,330.56                    18,440,698.9

11/15/2017    212         PAYABL 15951      PT Seok HWA Indonesia                                                           13,174.36                    18,427,524.1

11/15/2017    213         PAYABL 15952      Design Gallery (PVT.) LTD                                                       12,801.60                    18,414,722.5

 11/15/2017   214         PAYABL 15953      Protective Industrial                                                        1,000,000.00                    17,414,722.5

 11/1512017   215         PAYABL 15955      Desun Garments Ltd.                                                              7.691.75                    17,407,030.7

 11/15/2017   216         PAYABL 15956      W.W. Grainger, Inc.                                                            180,000.00                    17,227,030.7
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ACCOUNT #:83001
ACCOUNT NAME: IRONCLAD PERFORMANCE WEAR CORP.
BANK NAME: FIRST REPUBLIC BANK
BANK ACCOUNT #:1111111111638                                                                                    0.00
                                                                                 Begining BALANCE

   DATE       NUMBER    Origin    PAYEE                                        GL ACCOUNT           MEMO                PAYMENT         DEPOSIT         BALANCI

11/15/2017    12554    PAYABL 15936       Synetra                                                                       37.972.33                     17,189,058.4

11/15/2017    12555    PAYABL 15937       1920 Hutton Court                                                              13,257.09                    17,175,801.3

11/1512017    12556    PAYABL 15938       Konica Minolta                                                                  1,152.31                    17,174,649.0

11/15/2017    12557    PAYABL 15939       Pitney Bowes Credit Corp.                                                        452.99                     17,174,196.0

11/20/2017             Transfer                                                               Transfer per RB           820.000.00                    16.354,196.Q

11/2812017    112817        AR 1          CASH NOT AR                   4001                  Bank Reversal of Excess                        110.00   16.354.306.0

11/30/2017    307      PAYABL 1538        First Republic Bank                                                               110.00                    16,354,196.0

11/30/2017    113017        AR 1          CASH NOT AR                   4001                  November 2017 interest                         813.95   16,355,009.9

12/14/2017    217      PAYABL 16054       Brown Rudnick LLP                                                             160,846.44                    16,194,163.5

12/14/2017    218      PAYABL 3753        Levene Neale Bender Yoc                                                       571,321.49                    15,622,842.0

12/14/2017    219      PAYABL 16055       Stubbs Alderton & Markiles,                                                   119,247.77                    15,503,594.2

12/14/2017    220      PAYABL 16056       Craig-Hallum Capital Group                                                    484,439.08                    15,019,155.2

12/14/2017    221      PAYABL 16057       Dentons US LLP                                                                227,444.54                    14,791,710.6

 12/15/2017   222      PAYABL 16059       Michael Schwarzrnann                                                           14,678.77                    14,777,031.8

 12/19/2017   223      PAYABL 10218       BP E& H An Accountancy                                                         10,000.00                    14,767,031.8

 12/21/2017   224      PAYABL 16062       1920 Hutton Court                                                                  30.36                    14,767,001.5

 12/21/2017   225      PAYABL 16063       Account Temps                                                                   5,682.49                    14,761,319.0

 12/21/2017   226      PAYABL 16064       Advantage Media Services                                                          408.81                    14,760,910.2

 12/21/2017   227      PAYABL 16065       AML United Limited                                                                 64.88                    14,760,845.3

 12/21/2017   228      PAYABL 16066       Amster. Rothstein &                                                            11,436.64                    14,749,408.7

 12/21/2017   229      PAYABL 16067       Atmos Energy                                                                       52.17                    14,749,356.5

 12/21/2017   230      PAYABL 16068       Ben Padnos                                                                      1,309.01                    14,748,047.5

 12121/2017   231      PAYABL 16069       BlC, ALLIANCE                                                                    5,820.70                    14,742,226.8
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ACCOUNT #:    83001
ACCOUNT NAME: IRONCLAD    PERFORMANCE WEAR CORP.
BANK NAME:     FIRST REPUBLIC BANK
BANK ACCOUNT #:111.1111638
                                                                            Begining BALANCE          0.00
  DATE       NUMBER    Origin PAYEE                                    GL ACCOUNT              MEMO          PAYMENT        DEPOSIT        BALANCI

12/21/2017   232      PAYABL 16070    BNSF                                                                   14,841.74                   14,727,385.0

12/21/2017   233      PAYABL 16071    Broadridge                                                              2.118.04                   14,725,267.0

12/21/2017   234      PAYABL 16072    CRC Financial LLC                                                         697.48                   14,724,569.5

12/21/2017   235      PAYABL 16073    California Board of                                                       894.58                   14,723.674_9

12/21/2017   236      PAYABL 16074    California Dept of Tax and                                                575.65                   14,723,099,3

12/21/2017   237      PAYABL. 16075   Chang Sang Gloves (Hong                                                13,669.53                   14,709,429.8

12/2112017   238      PAYABL 16075    Commerce Technologies,                                                    289.13                   14,709,140.6

12/21/2017   239      PAYABL 16077    Comptroller of Public                                                   1,003.57                   14,708,137,1

12/21/2017   240      PAYABL 16078    Comptroller of Public                                                   4,122.90                   14,704,014.2

12/21/2017   241      PAYABL 16079    Custom Information                                                      3,559.11                   14,700,455.1

12/21/2017   242      PAYABL 16080    Daylight Transport                                                        356.36                   14,700,098.7

12/21/2017   243      PAYABL 16081    DESIGN GALLERY (PVT.)                                                      29.31                   14,700,069.4

12/21/2017   244      PAYABL 16082    CRG Financial LLC                                                          17.61                   14,700,051.8

12/21/2017   245      PAYABL 16083    rival Safety & Supplies                                                 2,102 48                   14,697,949.3

12/21/2017   246      PAYABL 16084    CRCs Strategic, LLC - Bob                                                 558.74                   14,697,390.6

12/21/2017   247      PAYABL 16085    DTM Sales                                                               3,195.63                   14,694,194.9

12/2112017   248      PAYABL 16036    Emmett Murphy                                                            1,309.01                  14,692,885.9

12/21/2017   249      PAYABL 16087    FedEx                                                                   18,617.25                  14,674,268.7

12/21/2017   250      PAYABL 16088    Ginger Collier                                                            800.66                   14,673,468.0

12/21/2017   251      PAYABL 16089    GT Graphics of Sheboygan                                                  761.78                   14,672,706.2

12/21/2017   252      PAYABL 16090    Hewlett Packard                                                           .366.10                  14,672,340.1

12/21/2017   253      PAYABL 16091    KA HUNG GLOVE                                                           11,176.58                  14,661,163.5

12/21/2017   254      PAYABL 16092    Konica Minolta Business                                                      2.64                  14,661,160.9
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ACCOUNT #:83001
ACCOUNT NAME: IRONCLAD PERFORMANCE WEAR CORP.
BANK NAME: FIRST REPUBLIC BANK
BANK ACCOUNT #:11111111638
                                                                             Begining BALANCE          0.00
   DATE       NUMBER    Origin PAYEE                                    GL ACCOUNT              MEMO          PAYMENT        DEPOSIT      BALANCI

12/21/2017    255      PAYABL 16093    LAB Sales Agency                                                           55.12                  14,661,105.8

12/21/2017    256      PAYABL 16094    LF Logistics                                                               69.35                  14,661,036.4

12/21/2017    257      PAYABL 16095    Liaison Technologies, Inc.                                                948.37                  14,660,088.1

12/21/2017    258      PAYABL 16096    Lien Shun Yang Leather                                                     34.71                  14,660.053,4

12/21/2017    259      PAYABL 16097    MARUSAN - MIMASU                                                          876.61                  14,659,176.7

12/21/2017    260      PAYABL 16098    Mediant                                                                   253.09                  14,658,923.7

12/21/2017    261      PAYABL 16099    MERCINDO GLOBAL                                                        10,208.14                  14.648.715.5

12/21/2017    262      PAYABL 16100    National Safety Council                                                   396.41                  14,648,319.1

12/21/2017    263      PAYABL 16101    Argo Partners                                                           3.567.29                  14,644,751.8

12/21/2017    264      PAYAB L 16102   Office Depot Acct 31A                                                     318.57                  14,644,433.2

12/21/2017    265      PAYABL 16103    Pacific Stock Transfer                                                    961.42                  14,643,471.8

12/21/2017    266      PAYAB L 16104   Perry HVAC                                                              1,268.60                  14,642,203.2

12/21/2017    267      PAYAB L 16105   Pestilli & Associates                                                     158.02                  14,642,045.2

12/21/2017    268      PAYA.BL 16106   Pitney Bowes Credit Corp.                                                   1.04                  14,642,044.2

12/21[2017    269      PAYABi. 16107   CRG Financial LLC                                                       1,505.35                  14,640,538.8

12/21/2017    270      PAYAB L 16108   Progroup Incorporated                                                   1,003.57                  14,639,535.2

12/21/2017    271      PAYABL 16109    PT JJ GLOVES INDO                                                         373.07                  14,639,162.2

12/21/2017    272      PAYABL 16110    PT SEOK HWA                                                                30.17                  14,639,132.0

12/21/2017    273      PAYABL 16111    PT SPORT GLOVE                                                            330.30                  14,638,801.7

12/21/2017    274      PAYABL 16112    Quill Corporation                                                          67.70                  14,638,734.0

12/21/2017    275      PAYABL 16113    Republic Services                                                         342.32                  14,638,391.7

12/21/2017    276      PAYABL 16114    Resources Global                                                        81,055.31                 14.557.336.4

 12/21/2017   277      PAYABL 16115    Robert Steckler                                                          1,309.01                 14,556,027.4
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ACCOUNT #:83001
ACCOUNT NAME: IRONCLAD PERFORMANCE WEAR CORP.
BANK NAME: FIRST REPUBLIC BANK
BANK ACCOUNT #:             638                                               Beg ining BALANCE          0.00
   DATE       NUMBER    Origin PAYEE                                     GL ACCOUNT               MEMO          PAYMENT        DEPOSIT       BALANCI

12/21/2017    278      PAYABL 16116    Russ McDonald                                                                99.00                  14,555,928.4

12/21/2017    279      PAYABL 16117    Safeco Building                                                             648.66                  14,555,279.7

12/21/2017    280      PAYABL 16118    Shur-Sales 8. Marketing,                                                 16,182.56                  14,539,097.1

12/21/2017    281      PAYABL 16119    SPS Commerce                                                              1,026.20                  14,538,070.9

12/21/2017    282      PAYABL 16120    Superior Printing, Inc.                                                     162.81                  14,537,908.1

12/21/2017    283      PAYABL 16121    Synetra                                                                      86.95                  14,537,821 2

12/21/2017    284      PAYABL 16122    TAB Sales Soulutions                                                        432.06                  14,537,389.1

12/21/2017    285      PAYABL 16123    Three Part Advisors, LLC                                                  6,924.63                  14,530,464.5

12/21/2017    286      PAYABL 16124    FRI/AUSTIN. INC                                                             351.25                  14,530,113.2

12/21/2017    267      PAYABL 16125    TXU Energy                                                                1.758.99                  14,528,354.3

12/21/2017    288      PAYABL 16126    Tyco Integrated Security,                                                   280.06                  14,528,074.2

12/21/2017    289      PAYABL 16127    Uiine                                                VOID                   713.03                  14,527,361.2

12/21/2017    290      PAYABL 16128    University of Milwaukee                              VOID                33,451.99                  14,493,909.2

12/21/2017    291      PAYABL 16129    UPS Freight                                          VOID                   506.35                  14,493,402.8

12/21/2017    292      PAYABL 16130    W.W. Grainger, Inc.                                  VOID                   412.19                  14,492,990.6

12/21/2017    293      PAYABL 16131    ASM Capital V. L.P.                                  VOID                 3.838.65                  14,489,152.0

12/21/2017    294      PAYABL 16132    Windstrearn                                           VOID                1,745.80                  14,487,406.2

12/21/2017    295      PAYABL 16133    WINSPEED SPORTS                                      VOID                   349.97                  14,487,056.2

12/21/2017    296      PAYABL 16134    WONEEL MIDAS                                          VOID                26,583.96                 14,460,472.3

12/21/2017    297      PAYABL 16135    Yellow and Roadway                                    VOID                12,435.64                 14,448,036.6

 12/21/2017   298      PAYABL 16127    Uline                                                                       713.03                  14,447,323.6

 12/21/2017   299      PAYABL 16128    University of Milwaukee                                                   33,451.99                  14,413,871.6

 12/21/2017   300      PAYABL 16129    UPS Freight                                                                  506.35                  14,413,365.2
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ACCOUNT #:83001
ACCOUNT NAME: IRONCLAD PERFORMANCE WEAR CORP.
BANK NAME: FIRST REPUBLIC BANK
BANK ACCOUNT #:              38                                               Begining BALANCE                 0.00

   DATE       NUMBER    Origin PAYEE                                        GL ACCOUNT           MEMO                 PAYMENT        DEPOSIT           BALANCI

12/21/2017    301      PAYABL 16130    ,W. Grainger. Inc.                                                                412.19                       14,412,953.1

12/21/2017    302      PAYABL 16131    ASivl Capitai V. L P.                                                           3,838.65                       14,409,114.4

12/21/2017    303      PAYABL 16132    Windstream                                                                      1,745.80                       14,407,368.6

12/21/2017    304      PAYABL 16133    WINSPEED SPORTS                                                                   349.97                       14,407,018.6

12/21/2017    305      PAYABL 16134    WONEEL MIDAS                                                                   26,583.96                       14,380,434.7

12/21/2017    306      PAYABL 16135    Yellow and Roadway                                                             12,435.64                       14,367,999.0

12/21/2017    289          AP 16127    /'line                                              AP Check Voiding                                 713.03    14,368,712.1

12/21/2017    290          AP 16128    University of•Milwaukee                             AP Check Voiding                               33,451.99   14,402,164.1

12/21/2017    291          AP 16129    UPS Freight                                         AP Check Voiding                                 506.35    14,402,670.4
                                       W.VV, Grainger. Inc.                                AP Check Voiding                                 412.19    14,403,082.6
12/21/2017    292          AP 16130

12/21/2017    293          AP 16131    ASM Capital V, L.P.                                 AP Check Voiding                                3,838.65   14.406.921.2

12/21/2017    294          AP 16132    Win dstream                                          AP Check Voiding                               1,745.80   14,408,667.0

12/21/2017    295          AP 16133    WINSPEED SPORTS                                      AP Check Voiding                                 349.97   14,409,017.0

12/21/2017    296          AP 16134    WONEEL MIDAS                                         AP Check Voiding                              26,583.96   14,435,601.0

12/21/2017    297          AP 16135    Yellow and Roadway                                   AP Check Voiding                              12,435.64   14,448,036.6

12/28/2017    308      PAYABL 16055    Stubbs Alderton & Markiles,                                                    206,893.44                      14,241,143.2

12/28/2017    309      PAYABL 16176    Province Inc.                                                                   70,000.00                      14,171,143.2

 12/28/2017   310      PAYABL 16177    Skadden, Arps. Slate,                                                          342,141.79                      13,829,001.4

 12/31/2017   312      PAYABL 1538     First Republic Bank                                                                260.00                      13,828,741,4

 12/31/2017   123117       AR 1        CASH NOT AR                   4001                   December 2017 interest                         3,261.51   13,832,002.9

 1/11/2018    311      PAYABL 15940     Chang Bang Gloves (Hong                                                         6,436.78                      13,825,566.1

 1/25/2018    0            AR 1         CASH NOT AR                  4001                   FIRST REPUBLIC BANK                              500.00   13,826,066.1

 1/26/2018    315      PAYABL 1538      First Republic Bank                                                               260.00                       13,825,806.1
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ACCOUNT #:83001
ACCOUNT NAME: IRONCLAD PERFORMANCE WEAR CORP.
BANK NAME: FIRST REPUBLIC BANK
BANK ACCOUNT #:             638                                          Begining BALANCE                0.00
  DATE       NUMBER    Origin PAYEE                                    GL ACCOUNT           MEMO                PAYMENT       DEPOSIT             BALANCI

1/31/2018    13118        AR 1        CASH NOT AR               4001                  January 2018 interest                        2,949.97      13,828,756.1

2/8/2018     313      PAYABL. 16131   ASM Capital V, LP.                              VOID                       3,568.53                        13,825,187.6

2/8/2018     314      PAYABL. 16131   ASM Capital V. LP.                                                         3,568.53                        13,821,619.0

2/8/2018     313          AP 16131    ASM Capital V. L P.                             AP Check Voiding                             3,568.53      13,825,187.6

2/28/2018    22817        AR          CASH NOT AR               4001                  February 2018 interest                       2,662.42      13,827,850.0

3/8/2018     316      PAYABL 2369     Venlext                                                                     995.00                         13,826,855.0

                                                                                                                    ENDING BALANCE            13,826,855.0Q
